Case: 0:18-cv-00074-HRW Doc #: 5 Filed: 07/24/18 Page: 1 of 1 - Page ID#: 60
                   SENDER: COMPLETE •THIS SECTION
                     • Complete items 1, 2, and 3. Also complete
                       Item 4 if Restricted Delivery is desired.
                     • Print your. name and address on the reverse
           • ~). ~- · 'so-t~•P¥ return the card.to·y~.
                   · • 1'.ttach this'cara"tet 1.tie back of the mallpiece,
                       or on the front if space permits.
                                                                                                        D. Is delivery address different from Item 1?
                                                                                                           If YES, enter delivery address below:




                                                                                                        3.   Se~eType
                                                                                                             IIYCertified Mall         D 'fipress Mall
                                                                                                             D Registered              ~eturn Receipt for Merchandise
                                                                                                             D Insured Mall             0 0.0.D.
                                                                                                        4. Restricted Delivery? (Extra Fee)                      D Yes
                   2. Article Number
                      (Transfer from se/V/ce labeQ                    7012 3050 DODD 8078 5507
                   PS Form   3811, February 2004                           Domestic Ret~_rn_Receipt                                                         102595·02·M-1540 !




                                      :l9' JUL 'IB
                                      ~-M    :t L                                               ll l l                                        First-Class Mail

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                                                                                                                                              E~~;ge & Fees Paid
                                                                                                                                              Permit No. G-1 o     __.
                           • Sender: Please print your name, address, and ZIP+4 in this box •




                                                CLERK. U.S. DISTRICT COURT
                                                1405 GREENUP AVE, STE 336
                                                ASHLAND, KY 41101




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